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13                          UNITED STATES DISTRICT COURT

14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

15                                 SOUTHERN DIVISION

16   UNITED STATES OF AMERICA,                  Nos. SA 19-241-M
                                                     8:19-MJ-103
17             Plaintiff,
                                                NOTICE OF EXECUTION OF ARREST
18                   v.                         WARRANT AND UNSEALING OF DOCUMENTS

19   MICHAEL J. AVENATTI,

20             Defendant.

21
     IN RE: SEARCH WARRANT FOR
22   SEVEN DIGITAL DEVICES IN THE
     CUSTODY OF THE INTERNAL REVENUE
23   SERVICE–CRIMINAL INVESTIGATION IN
     LAGUNA NIGUEL, CALIFORNIA
24

25
          Plaintiff United States of America, by and through its counsel
26
     of record, the United States Attorney for the Central District of
27
     California and Assistant United States Attorneys Julian L. André and
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     Case 8:19-mj-00241-DUTY Document 9 Filed 03/27/19 Page 2 of 2 Page ID #:221



 1   Brett A. Sagel, hereby gives notice that the arrest warrant issued in

 2   United States v. Avenatti, No. SA 19-241-M, was executed on March 25,

 3   2019.   Accordingly, pursuant to this Court’s March 24, 2019, Order,

 4   the criminal complaint and related documents filed United States v.

 5   Avenatti, No. SA 19-241-M, and the search warrant and related

 6   documents filed in In re: Search Warrant, No. 8:19-MJ-103, are now

 7   deemed unsealed and should be unsealed on the Court’s docket.

 8   Dated: March 24, 2019                Respectfully submitted,

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16                                        UNITED STATES OF AMERICA

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